     Case 18-50214-rlj11 Doc 1507 Filed 10/11/19                Entered 10/11/19 16:22:27           Page 1 of 1




The following constitutes the ruling of the court and has the force and effect therein described.



Signed October 11, 2019
                                            United States Bankruptcy Judge
______________________________________________________________________

                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         LUBBOCK DIVISION

         IN RE:                                           §
                                                          §
         REAGOR-DYKES MOTORS, LP,1                        §              CASE NO. 18-50214-rlj11
                                                          §              Jointly Administered

                                                      ORDER

           Hearing on First Bank & Trust’s motion to convert [Doc. No. 1406] will be held on October 25,

  2019, at 10:00 A.M., in Room 314, 1205 Texas Avenue, Lubbock, Texas. The Debtors’ motion to

  continue [Doc. No. 1477] is denied. See 11 U.S.C. § 1112(b)(3).

           SO ORDERED.

                                               ### End of Order ###




     1
      The following chapter 11 cases are jointly administered in Case No. 18-50214: Reagor-Dykes Imports, LP (Case
     No. 18-50215), Reagor-Dykes Amarillo, LP (Case No. 18-50216), Reagor-Dykes Auto Company, LP (Case No. 18-
     50217), Reagor-Dykes Plainview, LP (Case No. 18-50218), Reagor-Dykes Floydada, LP (Case No. 18-50219),
     Reagor-Dykes Snyder, L.P. (18-50321), Reagor-Dykes III LLC (18-50322), Reagor-Dykes II LLC (18-50323),
     Reagor Auto Mall, Ltd. (18-50324), and Reagor Auto Mall I LLC (18-50325).

                                                          1
